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               United States Court of Appeals
                                 For the First Circuit
                                    _____________________

No. 18-1999
                               IN RE: DANIEL E. CARPENTER,

                                           Petitioner.
                                      __________________

                                              Before

                                Torruella, Lynch, and Thompson,
                                         Circuit Judges.
                                     __________________

                                          JUDGMENT

                                   Entered: November 9, 2018

        Petitioner Daniel E. Carpenter has filed an "emergency petition for a writ of mandamus,
declaratory judgment and injunctive relief." Having reviewed the petition and relevant portions
of the record, we conclude that the extraordinary remedy of mandamus relief is not in order. See
In re Justices of Superior Court Dep't of Massachusetts Trial Court, 218 F.3d 11, 15 (1st Cir. 2000)
(general mandamus principles). The petition and requests for declaratory and injunctive relief are
DENIED.

                                                       By the Court:

                                                       Maria R. Hamilton, Clerk


cc:
Daniel E. Carpenter
Mary Beth Murrane
Kelly Begg Lawrence
Cynthia A. Young
Mark J. Balthazard
Jonathan F. Mitchell
Christopher Richard Donato
David G. Lazarus
